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                                                                             FILED
                  IN THE UNITED STATES DISTRICT COURT                          NOV 13 2018
                      FOR THE DISTRICT OF MONTANA                           Clerk, U.S District Court
                                                                              District Of Montana
                           MISSOULA DIVISION                                        Missoula



 UNITED STATES OF AMERICA,                               CR 18-44-M-DLC

                       Plaintiff,
                                                               ORDER
         vs.

 JEREMY DOUGLAS SMITH,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on October 25, 2018. Neither party objected and

therefore they are not entitled to de nova review of the record. 28 U.S.C. §

636(b)(l); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981 ). Clear error exists if the Court is left with a "definite and firm

conviction that a mistake has been committed." United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Jeremy Douglas Smith's guilty

plea after Smith appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of possession with the

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intent to distribute methamphetamine in violation of 21 U.S.C. § 841(a)(l) as set

forth in Count II of the Indictment, and to one count of the possession of a firearm

in furtherance of a drug trafficking crime in violation of 18 U.S.C. §

942(c)(l)(A)(I) as set forth in Count III of the Indictment. Defendant further

agrees to the forfeiture allegation in the Indictment. In exchange for Defendant's

plea, the United States has agreed to dismiss Count I of the Indictment.

      I find no clear error in Judge Lynch's Findings and Recommendation (Doc.

48), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Jeremy Douglas Smith's motion to

change plea (Doc. 32) is GRANTED and Jeremy Douglas Smith is adjudged guilty

as charged in Counts II and III of the Indictment.

      DATED this lS'kaay of November, 2 18.




                                       Dana L. Christensen, Chief Judge
                                       United States District Court




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